                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                     Plaintiff,

       vs.                                               Case No. 16-CR-21

SAMY M. HAMZEH,

                     Defendant.


                    UNOPPOSED MOTION TO CONTINUE

       Samy Hamzeh, by counsel, files this motion to continue the trial date and

suspend the court’s pretrial order. The defense has conferred with United States

Attorney Gregory Haanstad and he has no objection to this request.

       The defense reluctantly makes this request to continue the trial date. While

the defense has been working hard on this case and has spent hundreds of hours

drafting motions, reviewing discovery, and preparing for trial, over the past week

it has become evident that issues with the Arabic translations will prevent this case

from going to trial as previously scheduled. The defense was naively optimistic

about how long it would take to review the government transcripts, compare them

with defense translations, consult with Mr. Hamzeh and translators, and work out

any differences with the government. Given the importance of the Arabic

translations and what was precisely said by the informants and Hamzeh

throughout this case, the defense asks that the trial be continued, that the Court’s


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pretrial order be suspended, and that the January 24, 2018, final pretrial conference

be converted to a status conference where a new date can be scheduled.

       Dated at Milwaukee, Wisconsin this 9th day of January, 2018.

                                              Respectfully submitted,

                                              /s/     Craig W. Albee
                                              Craig W. Albee, WI Bar #1015752
                                              Joseph A. Bugni, WI Bar #1062514
                                              FEDERAL DEFENDER SERVICES
                                                Of Wisconsin, Inc.
                                              517 E. Wisconsin Ave. - Rm 182
                                              Milwaukee, WI 53202
                                              Tel. (414) 221-9900
                                              e-mail: craig_albee@fd.org

                                              Counsel for Defendant, Samy M. Hamzeh




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